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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT
_________________________________
                                  )
UNITED STATES OF AMERICA          )
                                  )
      v.                          )  No. 3:13 Cr. 226 (RNC)
                                  )
DANIEL E. CARPENTER               )
_________________________________)   June 22, 2018

   SUPPLEMENTAL EXHIBITS TO DEFENDANT DANIEL CARPENTER’S
              REPLY SENTENCING MEMORANDUM

       Defendant Daniel Carpenter, by and through counsel, respectfully submits the

attached supplemental exhibits in support of Defendant’s reply sentencing memorandum.

Defendant previously supplied the Court with life insurance illustrations for Lincoln

policies issued to Bobby Cargill and William Dudley. (See Dkt. 357-1, at Ex. Nos. 1, 4.)

Counsel has since discovered that incomplete versions of the illustrations were supplied

to the Court. The versions supplied to the Court contain the “minimum” funding levels

for the Cargill and Dudley policies but do not also contain the “level” funding levels

described and relied upon in Defendant’s reply sentencing memorandum. (See Reply Br.

at 17, 23 & n.7.) The attached supplemental exhibits, Exhibits 11 and 12, provide those

“level” funding illustrations for the Cargill and Dudley policies.

                                          Respectfully submitted,

                                          /s/ Michael A. Levy
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                              CERTIFICATE OF SERVICE

         I hereby certify that on June 22, 2018, a copy of foregoing motion was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of
this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the Notice
of Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.

                                            /s/ Michael A. Levy
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